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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

JANE DOE 1, et al.,

       Plaintiffs,
                                                Civil Action No.
v.                                              1:25-cv-01998-VMC

PAM BONDI, in her official capacity
as Attorney General of the United
States, et al.,

       Defendants.

                                    ORDER

      This matter is before the Court on Plaintiffs’ Amended Motion for a

Temporary Restraining Order (TRO) against Defendants Pam Bondi, in her official

capacity as Attorney General of the United States, Kristi Noem, in her official

capacity as Secretary of the Department of Homeland Security (“DHS”), and Todd

Lyons, in his official capacity as Acting Director of U.S. Immigration and Customs

Enforcement (“ICE”), (collectively, “Defendants”). (Doc. 19). Plaintiffs, who are

proceeding pseudonymously, request that this Court enter a TRO to: (1) enjoin

Defendants from terminating their F-1 student status under the Student and

Exchange Visitor (SEVIS) system, and (2) require Defendants to set aside their

SEVIS Registration termination determination, restore Plaintiffs F-1 nonimmigrant

student status, and restore Plaintiffs’ Optional Practical Training (OPT) and
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Curricular Practical Training (CPT) work authorizations. Upon careful

consideration of the parties’ submissions, and with the benefit of a hearing, the

Court grants Plaintiffs’ motion.

I.     Background

       Congress has authorized nonimmigrant F-1 visas for nonimmigrant

students, such as Plaintiffs, who enroll in Government-approved academic

institutions and engage in a full course of study. 8 U.S.C. § 1101(a)(15)(F)(i). Once

admitted to the United States with an F-1 visa, an international student is granted

permission to remain in the United States for the duration of status (noted as D/S

on the relevant document) as long as they continue to meet the requirements

established by the regulations governing their visa classification in 8 C.F.R. §

214.2(f), such as maintaining a full course of study and avoiding unauthorized

employment. 8 C.F.R. §§ 214.2(f)(6). Students who complete that course of study

are entitled to apply for OPT, which if approved, enables them to remain for an

additional year, or in cases of STEM degrees up to three years, working in their

field of study. 1 8 C.F.R. § 214.2(f)(10).

       Congress required that DHS “develop and conduct a program to collect

from approved institutions of higher education . . . in the United States [certain




1 Additionally, some degree programs also allow students to work in their field of

study during their course of study under CPT.
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information] with respect to aliens who have the status, or are applying for the

status, of [F-1] nonimmigrants . . . .” 8 U.S.C. § 1372(a)(1)(A). As a result, the

Department of Homeland Security’s Student and Exchange Visitor Program

(SEVP) created an online database known as SEVIS. SEVIS is a centralized

database maintained by the SEVP and it is used to manage information on

nonimmigrant students and exchange visitors to track their compliance with the

terms of their status. Under 8 C.F.R. § 214.2(g)(2), Designated School Officials

(DSOs) must report through SEVIS to the SEVP when a student fails to maintain

status as described in the Code of Federal Regulations. SEVIS termination is

governed by SEVP policies and regulations, which indicate that termination of

SEVIS registration can be done in one of a few ways. 8 C.F.R. § 214.1(d). Students

can fail to maintain status in violation of their status requirements outlined in 8

C.F.R. § 214.2(f). Additionally, 8 C.F.R. § 214.2(e)–(g) delineates the specific

circumstances under which certain conduct by any nonimmigrant visa holder

“constitutes a failure to maintain status,” such as engaging in unauthorized

employment, providing false information to DHS, or being convicted of a crime of

violence with a potential sentence of more than one year.

      A termination of status initiated by DHS is governed by 8 C.F.R. § 214.1(d),

and permits DHS to terminate status when: (1) a previously granted waiver under

8 U.S.C. § 1182(d)(3) or (4) is revoked; (2) a private bill to confer lawful permanent

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residence is introduced in Congress; or (3) DHS published a notification in the

Federal register identifying national security, diplomatic, or public safety reasons

for termination.

      Accordingly, the revocation of an F-1 visa does not constitute failure to

maintain status pursuant to the relevant regulations and does not provide a basis

to terminate F-1 student status under the SEVIS registration system. 2 Instead, if

the visa is revoked, the student is permitted to continue to pursue her course of

study in school, but upon departure from the United States, the SEVIS record is

terminated, and the student must obtain a new visa from a consulate or embassy

abroad before returning. See Guidance Directive 2016-03, 9 FAM 403.11-3 —VISA

REVOCATION (Sept. 12, 2016). Put differently, F-1 student status and F-1 student

visas are not one in the same. The F-1 student visa refers only to the document that

nonimmigrant students receive to enter the United States, whereas F-1 student

status refers to the students’ formal immigration classification once they enter the

country.

      Here, Plaintiffs are all F-1 student visa holders actively enrolled in colleges

and universities throughout the United States, or who have obtained lawful OPT

to resume working under the terms of their lawful student status. (Doc. 15 ¶¶ 6,



2 See ICE Policy Guidance 1004-04—Visa Revocations (June 7, 2010) (“[v]isa
revocation is not, in itself, a cause for termination of the student’s SEVIS record.”).
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9–27). Between April 1, 2025 and April 14, 2025, Plaintiffs received notification

from their schools’ DSOs informing them that SEVP terminated their SEVIS record

and marked Plaintiffs as either “OTHER – Individual identified in criminal records

check and/or has had their VISA revoked. SEVIS record has been terminated” or,

“Otherwise Failing to Maintain Status” with a narrative citing deportability

provisions under 8 U.S.C. § 1227(a)(1)(C), for failure to maintain status, and 8

U.S.C. § 1227(a)(4)(C)(i), for foreign policy grounds. (Doc. 1 ¶ 2). However,

Plaintiffs do not have any criminal history that would warrant their SEVIS records

being terminated. Nonetheless, many of the emails from the schools direct

Plaintiffs to leave the United States with little notice to prepare to do so. 3

      In some, but not all of these cases, the State Department has revoked the

student’s visa. But as the Court previously explained, the revocation of a visa does

not necessarily impact the person’s lawful presence in the country. As such,

Plaintiffs allege that it is the SEVIS registration termination that has rendered them

vulnerable to devastating immigration outcomes such as detention and

deportation, as well as irreparable harm.

      On April 11, 2025, seventeen Plaintiffs filed this action. (Doc. 1). Four days

later, Plaintiffs amended their Complaint to add 116 Plaintiffs, bringing the total



3 For example, in the email directed to Plaintiff John Doe 49, he was informed that

he must depart the United States within 15 days. (Doc. 77 at 32).
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number of Plaintiffs to 133. (Doc. 11). In their four-count Complaint, Plaintiffs seek

declaratory and injunctive relief that Defendants violated the Administrative

Procedure Act (“APA”) when they terminated their records on improper grounds,

without prior notice, without an articulated basis for their decision, and without

providing Plaintiffs an opportunity to respond. (Id. ¶¶ 180-182). Plaintiffs contend

that Defendants acted in an arbitrary and capricious manner, inconsistent with the

intent and plain language of the Immigration & Nationality Act and its associated

regulations, as well as in violation of the Due Process Clause of the Fifth

Amendment to the United States Constitution. (Id. ¶¶ 183-195). The original 17

Plaintiffs moved for a TRO to temporarily enjoin Defendants from terminating

their student status in the SEVIS system and to require Defendants to set aside

their termination decisions. (Doc. 4).

      On April 14, 2025, the Court scheduled an in-person hearing for Thursday,

April 17, 2025 at 9:30 a.m. to address whether to issue a temporary restraining

order. (See Doc. 9). The Court also ordered that Plaintiffs provide notice to

Defendants, as well as supplemental briefing addressing the Court’s jurisdiction

over nonresident Plaintiffs. 4 (Id.). Further, Defendants were given until April 16,



4 Defendants oppose the Court’s jurisdiction over the nonresident Plaintiffs and

were ordered to file their response in opposition by midnight on April 18, 2025.
Nevertheless, given the emergency nature of a TRO, as well as its limited duration,
the Court finds it more prudent to issue relief as to all Plaintiffs. If Defendants’
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2025 at 5:00 p.m. to respond to Plaintiffs’ request for a temporary restraining order.

(Id.). At the end of the hearing, the Court ordered Plaintiffs to amend their TRO to

include all of the Plaintiffs and the Parties agreed that an additional hearing on the

amended TRO was unnecessary. Plaintiffs have amended their TRO and therefore

this matter is ripe for consideration as to all Plaintiffs. (Doc. 19).

II.   Discussion

      The standard for obtaining a TRO is identical to that of obtaining a

preliminary injunction. Martin v. Kemp, 341 F. Supp. 3d 1326, 1332 (N.D. Ga. 2018)

(citing Windsor v. United States, 379 F. App'x 912, 916-17 (11th Cir. 2010)). To obtain

a TRO or preliminary injunction, the moving party must demonstrate: (1) a

substantial likelihood of success on the merits; (2) a substantial threat of

irreparable injury if the injunction is not granted; (3) the threatened injury to the

movant outweighs the damage to the opposing party; and (4) granting the

injunction would not be adverse to the public interest. Id. (citing Four Seasons Hotels

& Resorts, B.V. v. Consorcio Barr, S.A., 320 F.3d 1205, 1210 (11th Cir. 2003)). The

balance-of-the-harms and public interest elements merge when the government is

the party opposing the injunctive relief. Swain v. Junior, 961 F.3d 1276, 1293 (11th

Cir. 2020).




response convinces the Court that it does not have jurisdiction over certain
Plaintiffs, the Court will dissolve the TRO as to them.
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      A.    Plaintiffs Have Met the Factors for Issuance of a TRO

                 1. Plaintiffs’ Likelihood of Success on the Merits

      The Eleventh Circuit instructs district courts to consider the question of

whether a plaintiff has a substantial likelihood of success on the merits as

“generally the most important” factor in the analysis. Schiavo ex rel. Schindler v.

Schiavo, 403 F.3d 1223, 1232 (11th Cir. 2005). “A substantial likelihood of success

on the merits requires a showing of only likely or probable, rather than certain,

success.” Id. Plaintiffs claim that Defendants’ termination of their F-1 student

status under the SEVIS system was unlawful for multiple reasons. First, it

constitutes agency action not in accordance with law and in excess of statutory

authority under the Administrative Procedure Act (Count 1); second, it violates

the Due Process Clause of the Fifth Amendment to the Constitution (Count 2);

third, it violates the APA by infringing upon constitutional rights protected by the

Fifth Amendment (Count 3); and fourth, it is arbitrary and capricious under

administrative law (Count 4). (See Doc. 19-1 at 67).

      The Court finds that based on the allegations in the Amended Complaint

and the specific facts in the Plaintiffs’ 133 declarations, Plaintiffs have

demonstrated a substantial likelihood of success on the merits of their claim in

Counts 1 and 4: that Defendants’ termination of the SEVIS registration exceeds the

bounds of statutory and regulatory authority and is therefore unlawful under 5


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U.S.C. § 706(2)(A), (C), and (D). Termination of the SEVIS registration constitutes

a final decision reviewable under the APA. 5 See Jie Fang v. Dir. U.S. Immigr. &

Customs Enf’t, 935 F.3d 172, 182 (3d Cir. 2019) (“The order terminating these

students’ F-1 visas marked the consummation of the agency’s decisionmaking

process, and is therefore a final order[.]”). 6 And, pursuant to the record currently

before the Court at this time, the Court concludes that Plaintiffs are likely to show

that DHS’s authority to terminate F-1 student status is narrowly circumscribed by

regulation. See 8 C.F.R. § 214.1(d); see also Jie Fang, 935 F.3d at 185 n.100 (explaining

that the ability to terminate F-1 status is limited by § 214.1(d) which states: “Within

the period of initial admission or extension of stay, the nonimmigrant status of an

alien shall be terminated by the revocation of a waiver authorized on his or her

behalf under section 212(d)(3) or (4) of the Act; by the introduction of a private bill

to confer permanent resident status on such alien; or, pursuant to notification in

the Federal Register, on the basis of national security, diplomatic, or public safety

reasons.”). Since none of those conditions are applicable here, Plaintiffs are likely

to show that Defendants’ termination of their F-1 status was not in compliance


5 Under the APA, “[a]gency action made reviewable by statute and final agency

action for which there is no other adequate remedy in a court are subject to judicial
review.” 5 U.S.C. § 704.

6 Plaintiffs’ evidence showed that Plaintiffs’ schools and/or employers took
adverse action against Plaintiffs, further demonstrating that the termination of the
SEVIS records is a final agency action from which rights and liabilities occur.
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with 8 C.F.R. § 214.1(d) and was arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law under 5 U.S.C. § 706(2)(A).

      In their opposition, Defendants argue that although the APA generally

waives the government’s immunity, that waiver is not applicable here. (Doc. 16 at

6). Specifically, Defendants point to APA section 702, which “preserves other

limitations on judicial review and does not confer authority to grant relief if any

other statute . . . expressly or impliedly forbids the relief which is sought.” (Doc.

16 at 6–7 (citing Cohen v. United States, 650 F.3d 717, 724–25 (D.C. Cir. 2011))).

Although Plaintiffs have not asserted a claim under the Privacy Act, Defendants

contend that Plaintiffs’ claims “clearly” implicate the Privacy Act, and that the

Privacy Act provides an alternative, adequate remedy to the APA. (Id.). However,

courts have held that the “availability of a Privacy Act suit . . . does not take [the]

case[] outside the scope of the waiver of sovereign immunity in § 702 of the APA

and does not affect this Court’s subject-matter jurisdiction over Plaintiffs’ APA

claims. All. for Retired Ams. v. Bessent, No. CV 25-0313 (CKK), 2025 WL 740401, at

*19 (D.D.C. Mar. 7, 2025).

      Moreover, Plaintiffs do not have the ability to seek relief under the Privacy

Act. (Id.). The Privacy Act provides that an “individual” is “a citizen of the United

States or an alien lawfully admitted for permanent residence.” (Id. at 8 (citing 5




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U.S.C. § 552a(a)(2))), but Plaintiffs are neither U.S. citizens nor lawful permanent

residents, and therefore fall outside of the purview of the Privacy Act.

      Further, the relief available under the Privacy Act is actual damages.

Williams v. U.S. Citizenship & Immigr. Servs., No. 23-cv-61124, 2023 WL 8079947, at

*6 (S.D. Fla. Nov. 21, 2023) (quoting Stewart v. Kendall, 578 F. Supp. 3d 18, 23

(D.D.C. 2022)); FAA v. Cooper, 566 U.S. 284, 298 (2012). Plaintiffs’ Complaint seeks

only declaratory and injunctive relief. (Doc. 11 at 67–68). As such, Defendants’

argument fails.

                  2. Substantial Threat of Irreparable Injury

      Plaintiffs must establish there is a threat of irreparable harm if injunctive

relief is not granted, and that such harm is “harm that could not be sufficiently

compensated by money damages or avoided by a later decision on the merits.”

Canon, Inc. v. GCC Int'l, Ltd., 263 F. App’x 57, 62 (Fed. Cir. 2008).

      Given the number of Plaintiffs, the Court will not include a description of

each harm described by Plaintiffs in the Amended Complaint and the declarations

accompanying the Amended TRO Motion. (See Docs. 11, 19). Nonetheless,

Plaintiffs have demonstrated that they face irreparable harm in the absence of

temporary relief. Plaintiffs declare that as a result of the SEVIS terminations, they

will lose scholarships, career opportunities, access to education, and the ability to

apply for OPT. (See Doc. 4-2). Plaintiffs fear that they will abruptly have to leave


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behind family, cancel marriage plans, and abandon their communities in order to

avoid detention or being labeled a national security or foreign policy threat. Many

Plaintiffs are mere weeks away from attaining their degrees. (Doc. 4-2 at 34, 40).

The loss of timely academic progress alone is sufficient to establish irreparable

harm. Additionally, all Plaintiffs report high levels of stress and anxiety resulting

from the uncertainty around their futures. If Plaintiffs cannot work or study, they

cannot remain in the United States legally and will therefore be subjected to

removal proceedings or forced to return to their native countries on their own.

These harms could not be sufficiently compensated with monetary damages or

avoided by a later decision on the merits. See Liu v. Noem, No. 25-cv-133-SE-TSM,

slip op. at 3 (D.N.H. Apr. 10, 2025), ECF No. 13 (granting a motion for a temporary

restraining order on an APA claim based on the termination of an F-1 international

student’s record in SEVIS); Isserdani, et al. v. Noem, No. 25-cv-00283-WMC, 2025

WL 118626, at *10 (W.D. Wis. Apr. 15, 2025) (same); John Roe, et al v. Noem, et al.,

No. 25-cv-00040-BU-DLC, 2025 WL 1114694, at *3 (D. Mont. Apr. 15, 2025) (same);

Rantsantiboom v. Noem, et al., No. 25-cv-01315 (D. Minn. Apr. 15, 2025) (same);

Hinge v. Lyons, No. 1:25-cv-01097-RBW, slip op. at 12 (D.D.C. Apr. 15, 2025), ECF

No. 11 (same).




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                  3. Balance of Harms and Public Interest

      The third and fourth TRO requirements—that the threatened injury to the

movant outweighs any harm to the non-movant and that an injunction is not

adverse to the public interest—merge when, as here, the government is the party

opposing the motion. Koe v. Noggle, 688 F. Supp. 3d 1321, 1358 (N.D. Ga. 2023)

(citing Swain, 958 F.3d at 1091). “The third element” of that analysis “looks to the

competing claims of injury, requiring the court to consider the effect on each party

of the granting or the withholding of the requested relief.” De La Fuente v. Merrill,

214 F. Supp. 3d 1241, 1249 (M.D. Ala. 2016) (quoting Winter v. Nat. Res. Defense

Council, Inc., 555 U.S. 7, 24 (2008)) (internal quotations omitted).

      For the reasons set forth above, Plaintiffs have satisfied both factors. First,

the balance of harms weighs in Plaintiffs’ favor. Plaintiffs stand to lose their lawful

status, access to education, and future career prospects. By contrast, the temporary

nature of the requested relief poses minimal harm to Defendants. Defendants

assert that SEVIS does not control or even necessarily reflect whether a student has

lawful nonimmigrant status. (Doc. 16 at 2). If that is so, then restoring Plaintiffs to

the status quo before their SEVIS records were terminated has no effect on the

Executive’s “control over immigration,” Defendants’ only stated harm. (Id. at 16

(citing El Rescate Legal Servs., Inc. v. Exec. Off. of Immigr. Review, 959 F.2d 742 (9th

Cir. 1992)). Considering the record evidence as discussed in the previous sections


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of this order, the Court determines that the imminent risk of irreparable harm to

Plaintiffs flowing from the termination of their SEVIS records outweigh any harm

the government will experience from the TRO.

      Lastly, the Court concludes that there is substantial public interest in

ensuring government agencies abide by federal laws. See Kansas v. U.S. Dep’t of

Labor, 749 F. Supp. 3d 1363, 1380 (S.D. Ga. Aug. 26, 2024) (citing Louisiana v. Biden,

55 F.4th 1017, 1035 (5th Cir. 2022)); see also Florida v. Dep’t of Health and Hum. Servs.,

19 F.4th 1271, 1315 (11th Cir. 2021) (Lagoa, J., dissenting) (“[T]here is no public

interest in the perpetuation of unlawful agency action. To the contrary, there is

substantial public interest in having governmental agencies abide by the federal

laws that govern their existence and operations.” (quoting League of Women Voters

of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016))).

      Accordingly, the Court concludes that all relevant factors favor Plaintiffs.

                   4. Security

      Finally, the Court exercises its discretion to waive the bond requirement set

forth in Rule 65(c) of the Federal Rules of Civil Procedure at this time. BellSouth

Telecomms. Inc. v. MCImetro Access Transmission Servs., LLC, 435 F.3d 964, 971 (11th

Cir. 2005); Mama Bears of Forsyth Cnty. v. McCall, 642 F. Supp. 3d 1338, 1359–61

(N.D. Ga. 2022).




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III.    Conclusion

        Based on the foregoing, it is ORDERED that:

           1. Plaintiffs’ Motion for Temporary Restraining Order and Amended
              Motion for Temporary Restraining Order (Docs. 4, 19) are
              GRANTED.

           2. The Parties are DIRECTED to file a proposed joint protective order
              regarding the use of Plaintiffs’ identifying information by 3:00 p.m.
              on Monday, April 21, 2025.

           3. In the meantime, the Court ORDERS the Defendants not to disclose
              the Plaintiffs’ identifying information and not to use it for any
              purpose outside of this litigation. This aspect of the Court’s Order
              expires at 5:00 p.m. on Monday, April 21, 2025.

           4. Defendants shall reinstate Plaintiffs’ student status and SEVIS
              authorization, retroactive to March 31, 2025. By Tuesday, April 22,
              2025 at 5:00 p.m., Defendants shall file a notice of compliance with
              this Order.

           5. This Order takes effect immediately and shall continue until its
              expiration in fourteen (14) days.

        SO ORDERED this 18th day of April, 2025.


                                             _______________________________
                                             Victoria Marie Calvert
                                             United States District Judge




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